
WILLIAMS, J.
—There was a conflict of evidence as to where the skins were injured, and as to the cause of such injury. We are of opinion the decision of the trial court should be sustained, and the judgment affirmed. The finding that the cause of the injury was within exceptions—sweating, rain, spray, or inherent deterioration—is supported by the evidence. The trial judge heard the evidence, and saw and heard the witnesses produced before him; and his conclusion as to the facts should not be disturbed. More than this, there was evidence tending to show that the injuries to the skins were received while they were being transported from Havre to London. For such injuries the defendant is not liable under the bill of lading. It was a through bill, from Havre to New York, and the skins were not actually in the possession of the defendant, or shipped upon its steamer, until their arrival and delivery in London, within the meaning of the contract.
The contention that the provisions of the bill of lading were illegal, under the statutes and laws of England, should not be upheld. Even if such statutes were applicable to such a contract when made in England, and the laws of England were as claimed, they are not applicable to this contract, because it was made in France, and was to be performed, mainly, outside of England. It was a good contract under the laws of New York. Reed v. Express Co., 48 N. Y. 466 ; Ricketts v. Railroad Co., 59 N. Y. 637. We think the contract was one the parties might legally make, and that it was binding upon them.
The judgment should be affirmed, with costs.
All concur.
